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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X

MICHAEL DARDASHTIAN, individually and
on behalf of COOPER SQUARE VENTURES,
LLC, NDAP, LLC and CHANNELREPLY,                                 17 Civ. 4327 (LLS)

                                            Plaintiffs,

                 -against-

DAVID GITMAN, JEREMY FALK, SUMMIT                                REPLY TO COUNTERCLAIM
ROCK HOLDINGS, LLC, ACCEL COMMERCE,
LLC, DALVA VENTURES, LLC, KONSTANTYN
BAGAIEV, OLESKSII GLUKHAREV and
CHANNEL REPLY, INC.,
                                             Defendants.
-------------------------------------------------------------X

        Plaintiffs, Michael Dardashtian (“Dardashtian”) individually and on behalf of Cooper

Square Ventures, LLC (“Cooper Square Ventures” or “CSV” and having a principal place of

business located at 1010 Northern Boulevard, Suite 208, Great Neck, New York 11021, a wholly

owned subsidiary of CSV and Channel Reply, a wholly owned subsidiary of CSV (collectively

“Plaintiffs”), respectfully alleges in reply to the Counterclaim of Defendants David Gitman,

Accel Commerce, LLC, Dalva Ventures, LLC and Channel Reply, Inc. (hereinafter collectively

referred to as “Defendants”) as follows:

                                                   PARTIES
        1.        Denies knowledge or information sufficient to form a belief as to the truth or

        falsity of the allegations of paragraph 1 of Defendants’ Counterclaim.

        2.       Admits the allegations of paragraph 2 of Defendants’ Counterclaim.

        3.       Admits the allegations of paragraph 3 of Defendants’ Counterclaim.

        4.       Admits the allegations of paragraph 4 of Defendants’ Counterclaim.


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                                JURISDICTION AND VENUE

 5.        To the extent that the allegations of paragraph 5 are deemed to be allegations of

 law, Plaintiffs are not required to plead thereto; to the extent the allegations of the said

 paragraph are deemed to be allegations of fact, Plaintiffs admit the allegations thereof.

 6.        To the extent that the allegations of paragraph 6 are deemed to be allegations of

 law, Plaintiffs are not required to plead thereto; to the extent the allegations of the said

 paragraph are deemed to be allegations of fact, Plaintiffs admit the allegations thereof.

 7.        Denies each and every allegation of paragraph 7 of Defendants’ Counterclaim.

 8.        Denies each and every allegation of paragraph 8 of Defendants’ Counterclaim.

 9.        Denies each and every allegation of paragraph 9 of Defendants’ Counterclaim.

                                  STATEMENT OF FACTS

 10.       Denies paragraph 10 of Defendants’ Counterclaim to the extent said paragraph

 claims that Gitman is a current managing member of CSV but admits that Dardashtian

 and Gitman both made initial capital contributions of $500 each.

 11.       Denies the Defendants’ characterization of paragraph 11, except refers to the

 Verified Complaint for a full and complete recitation of CSV.

 12.       Denies each and every allegation of paragraph 12, except refers to the Verified

 Complaint for a full and complete recitation of CSV.

 13.       Denies each and every allegation of paragraph 13, and leaves Defendants to their

 proofs.

 14.       Denies knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations of paragraph 14 of Defendants’ Counterclaim.




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 15.       Denies each and every allegation of paragraph 15 and leaves Defendants to their

 proofs.

 16.       Denies each and every allegation of paragraph 16, and leaves Defendants to their

 proofs.

 17.       Denies each and every allegation of paragraph 17 to the extent that said paragraph

 claims Plaintiff Dardashtian was solely responsible for sales, marketing, legal and finance

 for all of the entities, and leaves Defendants to their proofs.

 18.       Denies each and every allegation of paragraph 18, except refers to the Verified

 Complaint for a full and complete recitation of the CSV Bank of America Bank Account.

 19.       Denies each and every allegation of paragraph 19, except refers to the Verified

 Complaint for a full and complete recitation of payroll.

 20.       Denies each and every allegation of paragraph 20, except refers to the Verified

 Complaint regarding payroll.

 21.       Denies knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegation of paragraph 21 of Defendants’ Counterclaim and leaves

 Defendants to their proofs.

 22.       Denies each and every allegation of paragraph 22 of Defendants’ Counterclaim.

 23.       Denies each and every allegation of paragraph 23 of Defendants’ Counterclaim.

 24.       Denies knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations of paragraph 24 and leaves Defendants to their proofs.

 25.       Denies each and every allegation of paragraph 25 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.




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 26.      Denies each and every allegation of paragraph 26 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.

 Gitman Developed the Technology for NDAP

 27.      Denies the characterization of paragraph 27 of Defendants’ Counterclaim, except

 refers to the Verified Complaint for a full and complete recitation of NDAP. .

 28.      Denies knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations of paragraph 28 and leaves Defendants to their proofs.

 29.      Denies each and every allegation of paragraph 29 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.

 30.      Denies each and every allegation of paragraph 30 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.

 31.      Denies each and every allegation of paragraph 31 of Defendants’ Counterclaim.

 32.      Denies each and every allegation of paragraph 32 of Defendants’ Counterclaim.

 33.      Denies each and every allegation of paragraph 33 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.

        Gitman and the Developers Built a Platform and Suite of Products Called
       ChannelReply. Dardashtian Did Not Contribute to the Creation or Growth of
       ChannelReply Platform or Products and, therefore, Dardashtian’s Ownership
         Interest in the ChannelReply Platform and Products, If Any, Is Minimal

 34.      Denies knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegation that ChannelReply, LLC actually conducted any business, except

 denies each and every remaining allegation of paragraph 34 of Defendants’

 Counterclaim.

 35.      Denies each and every allegation of paragraph 35 of Defendants’ Counterclaim.




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 36.    Denies knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations of paragraph 36 of Defendants’ Counterclaim.

 37.    Denies each and every allegation of paragraph 37 of Defendants’ Counterclaim,

 except refers to the Verified Complaint for a full and complete recitation of

 ChannelReply and Zendesk.

 38.    Denies each and every allegation of paragraph 38 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.

 39.    Denies each and every allegation of paragraph 39 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.

 40.    Denies each and every allegation of paragraph 40 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.

 41.    Denies each and every allegation of paragraph 41 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.

 42.    Denies each and every allegation of paragraph 42 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.

   Dardashtian’s Lack of Involvement in CSV and its Related Businesses Damaged
                                     Gitman

 43.    Denies each and every allegation of paragraph 43 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.

 44.    Denies each and every allegation of paragraph 44 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.

 45.    Denies each and every allegation of paragraph 45 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.




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                 Dardashtian fails to Fulfill Promises to the Developers

 46.    Admitted to the extent that Dardashtian and Gitman had informal discussions

 about compensation increases to Glukharev and Bagaiev, and eenies each and every

 remaining allegation of paragraph 46 of Defendants’ Counterclaim.

 47.    Denies each and every allegation of paragraph 47 of Defendants’ Counterclaim,

 except refers to the Verified Compliant for a full and complete recitation of the

 Developers.

 48.    Denies each and every allegation of paragraph 48 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 49.    Denies each and every allegation of paragraph 49 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 50.    Denies each and every allegation of paragraph 50 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.

 51.    Denies each and every allegation of paragraph 51 of Defendants’ Counterclaim,

 except refers to the Verified Complaint for a full and complete recitation of the

 Developers.

 52.    Denies each and every allegation of paragraph 52 of Defendants’ Counterclaim,

 except refers to the Verified Complaint for a full and complete recitation of the

 Developers.

 53.    Denies each and every allegation of paragraph 53 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 54.    Denies each and every allegation of paragraph 54 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.



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         Dardashtian Fraudulently Executed Documents on Gitman’s Behalf

 55.    Denies each and every allegation of paragraph 55 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 56.    Denies each and every allegation of paragraph 56 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.

 57.    Denies each and every allegation of paragraph 57 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 58.    Denies each and every allegation of paragraph 58 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 Dardashtian Breached his Fiduciary Duties to the Counterclaim Plaintiff Entities By
 Misappropriating Confidential and/or Proprietary Information Belonging to Those
                                     Entities

 59.    Denies each and every allegation of paragraph 59 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 60.    Denies each and every allegation of paragraph 60 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 61.    Denies each and every allegation of paragraph 61 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.

 62.    Denies each and every allegation of paragraph 62 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 63.    Denies each and every allegation of paragraph 63 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 64.    Denies each and every allegation of paragraph 64 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.



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 65.       Denies each and every allegation of paragraph 65 of Defendants’ Counterclaim,

 except refers to Exhibit D of Defendants’ Counterclaim, the contents of which speaks for

 itself.

 66.       Denies each and every allegation of paragraph 66 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 67.       Denies each and every allegation of paragraph 67 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 68.       Denies each and every allegation of paragraph 68 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 69.       Denies each and every allegation of paragraph 69 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 Dardashtian has Refused to Consent to an Accounting

 70.       Denies each and every allegation of paragraph 70 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 71.       Denies each and every allegation of paragraph 71 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 72.       Denies each and every allegation of paragraph 72 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 73.       Denies knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations of paragraph 73 of Defendants’ Counterclaim, and leaves

 Defendants to their proofs.

 74.       Denies each and every allegation of paragraph 74 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.



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 75.    Denies knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations of paragraph 74 of Defendants’ Counterclaim, and leaves

 Defendants to their proofs.

 76.    Denies each and every allegation of paragraph 76 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 77.    Denies each and every allegation of paragraph 77 of Defendants’ Counterclaim,

 except refers to the Verified Complaint for a full and complete recitation of Defendant

 Gitman’s actions to the detriment of Plaintiffs.

 78.    Denies each and every allegation of paragraph 78 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 79.    Denies each and every allegation of paragraph 79 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 80.    Denies knowledge or information sufficient to form a belief as to what Defendant

 Gitman believes, except denies each and every remaining allegation of paragraph 80 of

 Defendants’ Counterclaim.

 81.    Denies knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations of paragraph 81 of Defendants’ Counterclaim, and leaves

 Defendants’ to their proofs.

 82.    Denies each and every allegation of paragraph 82 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.




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                      FIRST COUNTERCLAIM
   (BREACH OF FIDUCIARY DUTY AGAINST DARDASHTIAN BY GITMAN)

 83.    For their Reply to paragraph 83 of Defendants’ Counterclaim, Plaintiffs repeat

 and reallege their responses set forth in paragraphs 1 through 82 hereinabove, as if same

 were fully set forth herein.

 84.    Admits the allegations of paragraph 84 of Defendants’ Counterclaim.

 85.    Admits the allegations of paragraph 85 of Defendants’ Counterclaim to the extent

 that it alleges that members of the Plaintiff Companies each owe fiduciary duties to each

 other, respectfully.

 86.    Denies each and every allegation of paragraph 86 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 87.    Denies each and every allegation of paragraph 87 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 88.    To the extent the allegation of paragraph 88 of Defendants’ Counterclaim are

 deemed to be allegations of law, Plaintiffs are not required to plead thereto; to the extent

 the allegations of the said paragraph are deemed to be allegations of fact, denies each and

 every allegation thereof.

                     SECOND COUNTERCLAIM
   (BREACH OF FIDUCIARY DUTY AGAINST DARDASHTIAN BY CSV AND
                             NDAP)

 89.    For their Reply to paragraph 89 of Defendants’ Counterclaim, Plaintiffs repeat

 and reallege their responses set forth in paragraphs 1 through 88 hereinabove, as if same

 were fully set forth herein.

 90.    Admits the allegations of paragraph 90 of Defendants’ Counterclaim.

 91.    Admits the allegations of paragraph 91 of Defendants’ Counterclaim.

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 92.       Denies each and every allegation of paragraph 92 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 93.       Denies each and every allegation of paragraph 93 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 94.       To the extent the allegation of paragraph 144 of Defendants’ Counterclaim are

 deemed to be allegations of law, Plaintiffs are not required to plead thereto; to the extent

 the allegations of the said paragraph are deemed to be allegations of fact, denies each and

 every allegation thereof.

                          THIRD COUNTERCLAIM
           (BREACH OF CONTRACT AGAINST DARDASHTIAN BY GITMAN)

 95.       For their Reply to paragraph 96 of Defendants’ Counterclaim, Plaintiffs repeat

 and reallege their responses set forth in paragraphs 1 through 94 hereinabove, as if same

 were fully set forth herein.

 96.       Admits the allegations of paragraph 96 of Defendants’ Counterclaim to the extent

 that it alleges both Gitman and Dardashtian are parties to the CSV Operating Agreement,

 but denies each and every remaining allegation of said paragraph.

 97.       Denies each and every allegation of paragraph 97 of Defendants’ Counterclaim to

 the extent that said paragraph refers to a document, the contents of which speaks for

 itself.

 98.       Denies each and every allegation of paragraph 98 of Defendants’ Counterclaim.

 99.       Denies each and every allegation of paragraph 99 of Defendants’ Counterclaim.

 100.      To the extent the allegation of paragraph 100 of Defendants’ Counterclaim are

 deemed to be allegations of law, Plaintiffs are not required to plead thereto; to the extent




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 the allegations of the said paragraph are deemed to be allegations of fact, denies each and

 every allegation thereof.

                    FOURTH COUNTERCLAIM
 (TORTIOUS INTERFERENCE WITH CONTRACT AGAINST DARDASHTIAN)

 101.   For their Reply to paragraph 101 of Defendants’ Counterclaim, Plaintiffs repeat

 and reallege their responses set forth in paragraphs 1 through 100 hereinabove, as if same

 were fully set forth herein.

 102.   Denies knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations of paragraph 102 of Defendants’ Counterclaim.

 103.   Denies each and every allegation of paragraph 103 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 104.   Denies each and every allegation of paragraph 104 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 105.   Denies each and every allegation of paragraph 105 of Defendants’ Counterclaim,

 except refers to the Verified Complaint for a full and complete recitation of the Plaintiff

 Companies.

 106.   Denies each and every allegation of paragraph 106 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 107.   Denies each and every allegation of paragraph 107 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 108.   Denies each and every allegation of paragraph 108 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 109.   To the extent the allegation of paragraph 109 of Defendants’ Counterclaim are

 deemed to be allegations of law, Plaintiffs are not required to plead thereto; to the extent

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 the allegations of the said paragraph are deemed to be allegations of fact, denies each and

 every allegation thereof.

                       FIFTH COUNTERCLAIM
        (TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC
                 ADVANTAGE AGAINST DARDASHTIAN)

 110.   For their Reply to paragraph 110 of Defendants’ Counterclaim, Plaintiffs repeat

 and reallege their responses set forth in paragraphs 1 through 109 hereinabove, as if same

 were fully set forth herein.

 111.   Denies knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations of paragraph 111 of Defendants’ Counterclaim.

 112.   Denies each and every allegation of paragraph 112 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 113.   Denies each and every allegation of paragraph 113 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 114.   Denies each and every allegation of paragraph 114 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 115.   Denies each and every allegation of paragraph 115 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 116.   Denies each and every allegation of paragraph 116 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 117.   To the extent the allegation of paragraph 117 of Defendants’ Counterclaim are

 deemed to be allegations of law, Plaintiffs are not required to plead thereto; to the extent

 the allegations of the said paragraph are deemed to be allegations of fact, denies each and

 every allegation thereof.



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                     SIXTH COUNTERCLAIM
    (UNJUST ENRICHMENT AND THE IMPOSITION OF A CONSTRUCTIVE
                  TRUST AGAINST DARDASHTIAN)

 118.   For their Reply to paragraph 118 of Defendants’ Counterclaim, Plaintiffs repeat

 and reallege their responses set forth in paragraphs 1 through 109 hereinabove, as if same

 were fully set forth herein.

 119.   Denies each and every allegation of paragraph 119 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 120.   Denies each and every allegation of paragraph 120 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 121.   Denies each and every allegation of paragraph 121 of Defendants’ Counterclaim,

 except refers to the allegations of the Verified Complaint for a full and complete

 recitation of ChannelReply.

 122.   Denies each and every allegation of paragraph 122 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 123.   Denies each and every allegation of paragraph 123 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 124.   To the extent the allegation of paragraph 124 of Defendants’ Counterclaim are

 deemed to be allegations of law, Plaintiffs are not required to plead thereto; to the extent

 the allegations of the said paragraph are deemed to be allegations of fact, denies each and

 every allegation thereof.




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                   SEVENTH COUNTERCLAIM
    (DECLARATORY JUDGMENT AGAINST DARDASHTIAN BY GITMAN)

 125.   For their Reply to paragraph 125 of Defendants’ Counterclaim, Plaintiffs repeat

 and reallege their responses set forth in paragraphs 1 through 124 hereinabove, as if same

 were fully set forth herein.

 126.   Denies each and every allegation of paragraph 126 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 127.   Denies each and every allegation of paragraph 127 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 128.   Denies each and every allegation of paragraph 128 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 129.   Denies each and every allegation of paragraph 129 of Defendants’ Counterclaim,

 which refers to a document, the contents of which speaks for itself.

 130.   To the extent the allegation of paragraph 130 of Defendants’ Counterclaim are

 deemed to be allegations of law, Plaintiffs are not required to plead thereto; to the extent

 the allegations of the said paragraph are deemed to be allegations of fact, denies each and

 every allegation thereof.

                    EIGHTH COUNTERCLAIM
    (RECORDS PURSUANT TO NY LLC L §1102 AGAINST DARDASHTIAN)

 131.   For their Reply to paragraph 131 of Defendants’ Counterclaim, Plaintiffs repeat

 and reallege their responses set forth in paragraphs 1 through 130 hereinabove, as if same

 were fully set forth herein.

 132.   Denies each and every allegation of paragraph 132 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.



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 133.   To the extent the allegation of paragraph 133 of Defendants’ Counterclaim are

 deemed to be allegations of law, Plaintiffs are not required to plead thereto; to the extent

 the allegations of the said paragraph are deemed to be allegations of fact, denies each and

 every allegation thereof.

                    NINTH COUNTERCLAIM
 (DECLARAOTRY JUDGMENT THAT CHANNEL REPLY IS OWNED BY CSV,
          GITMAN INDIVIDUALLY AND THE DEVELOPERS)

 134.   For their Reply to paragraph 134 of Defendants’ Counterclaim, Plaintiffs repeat

 and reallege their responses set forth in paragraphs 1 through 133 hereinabove, as if same

 were fully set forth herein.

 135.   Denies each and every allegation of paragraph 135 of Defendants’ Counterclaim

 and leaves Defendants to their proofs.

 136.   Denies each and every allegation of paragraph 136 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 137.   Denies each and every allegation of paragraph 137 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 138.   Denies the characterization o the allegations of paragraph 138 of Defendants’

 Counterclaim, except refers to the Verified Complaint for a full and complete recitation

 of the Developers.

 139.   Denies each and every allegation of paragraph 139 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 140.   Denies each and every allegation of paragraph 140 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.




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 141.   Denies each and every allegation of paragraph 141 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 142.   Denies each and every allegation of paragraph 142 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 143.   Denies each and every allegation of paragraph 143 of Defendants’ Counterclaim,

 and leaves Defendants to their proofs.

 144.   To the extent the allegation of paragraph 144 of Defendants’ Counterclaim are

 deemed to be allegations of law, Plaintiffs are not required to plead thereto; to the extent

 the allegations of the said paragraph are deemed to be allegations of fact, denies each and

 every allegation thereof.

                  AS AND FOR A FIRST AFFIRMATIVE DEFENSE

 145.   The Counterclaim fails, in whole or in part, to state a claim upon which relief may

 be granted.

                AS AND FOR A SECOND AFFIRMATIVE DEFENSE

 146.   The Counterclaim is moot because the alleged controversy underlying the request

 for declaratory judgment is already before the jurisdiction of this Court.

                  AS AND FOR A THIRD AFFIRMATIVE DEFENSE

 147.   The Defendants lack standing to assert a Counterclaim on behalf of the Plaintiff

 Companies.

                AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

 148.   The Counterclaim is barred in whole or in part by the doctrine of laches.




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                  AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

 149.   The Counterclaim is barred in whole or in part by the applicable statute of

 limitations.

                  AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

 150.   The Counterclaim fails to allege any ascertainable damages which are further

 speculative and not recoverable.

                 AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

 151.   Defendants’ Counterclaims are barred by the doctrine of unclean hands.

                 AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

 152.   Defendants’ Counterclaims are barred in whole or in part by the doctrine of

 waiver and/or estoppel.

                  AS AND FOR A NINTH AFFIRMATIVE DEFENSE

 153.   Any alleged damages suffered by Defendants, individually or collectively, were

 caused in whole or in part by Defendants’ own conduct.

                  AS AND FOR A TENTH AFFIRMATIVE DEFENSE

 154.   Defendants’ Counterclaims are barred by Defendants’ own culpable misconduct,

 collectively and or individually.

                AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE

 155.   Defendants’ have failed to sufficiently mitigate their damages, if any.

                AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

 156.    Plaintiffs breached no duty to Defendants.




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       WHEREFORE, Plaintiffs respectfully request that this Court dismiss the Counterclaim in

its entirety, with prejudice, and award Plaintiffs all remedies sought in the Verified Complaint,

and for such other and further relief as this Court shall deem just and proper.


Dated: January 3, 2018
                                              ARTURI, D’ARGENIO, GUAGLARDI &
                                              MELITI, LLP

                                              /s/ Barry S. Guaglardi
                                              _________________________
                                              BARRY S. GUAGLARDI, ESQ.
                                              BSG2401
                                              Attorney for Plaintiff
                                              Mack Centre I
                                              365 W. Passaic Street, Suite 130
                                              Rochelle Park, NJ 07662
                                              201-947-4100

                                              111 Main Street
                                              PO Box 509
                                              Chester, NY 10918




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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Reply to the Counterclaim of Defendants David

Gitman, Accel Commerce, Dalva Ventures, LLC and ChannelReply Inc. was filed electronically

with the Clerk of Court through the CM/ECF system copying all attorneys of record.




Dated: January 3, 2018                             /s/ Barry S. Guaglardi




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